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Fill in this information to identify your case:

United States Bankruptcy Court for the:

CENTRAL DISTRICT OF CALIFORNIA

Case number (if known)                                                      Chapter      11
                                                                                                                             Check if this an
                                                                                                                              amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                             04/20
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and the case number (if
known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                DCM-P3, LLC

2.   All other names debtor
     used in the last 8 years
     Include any assumed
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                     Mailing address, if different from principal place of
                                                                                                  business

                                  34 Black Hawk                                                   34 Black Hawk #418
                                  Irvine, CA 92603-0311                                           Irvine, CA 92603-0311
                                  Number, Street, City, State & ZIP Code                          P.O. Box, Number, Street, City, State & ZIP Code

                                  Orange                                                          Location of principal assets, if different from principal
                                  County                                                          place of business
                                                                                                  34 Black Hawk Irvine, CA 92603
                                                                                                  Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)


6.   Type of debtor                  Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                     Partnership (excluding LLP)
                                     Other. Specify:




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Debtor    DCM-P3, LLC                                                                                  Case number (if known)
          Name



7.   Describe debtor's business        A. Check one:
                                          Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                          Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                          Railroad (as defined in 11 U.S.C. § 101(44))
                                          Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                          Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                          Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                          None of the above

                                       B. Check all that apply
                                        Tax-exempt entity (as described in 26 U.S.C. §501)
                                        Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                        Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                       C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor.
                                          See http://www.uscourts.gov/four-digit-national-association-naics-codes.



8.   Under which chapter of the        Check one:
     Bankruptcy Code is the
     debtor filing?
                                          Chapter 7
                                          Chapter 9

     A debtor who is a “small             Chapter 11. Check all that apply:
     business debtor” must check
     the first sub-box. A debtor as                             The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its aggregate
     defined in § 1182(1) who                                    noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are less than
     elects to proceed under                                     $2,725,625. If this sub-box is selected, attach the most recent balance sheet, statement of
     subchapter V of chapter 11                                  operations, cash-flow statement, and federal income tax return or if any of these documents do not
     (whether or not the debtor is a                             exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
     “small business debtor”) must                              The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate noncontingent liquidated
     check the second sub-box.                                   debts (excluding debts owed to insiders or affiliates) are less than $7,500,000, and it chooses to
                                                                 proceed under Subchapter V of Chapter 11. If this sub-box is selected, attach the most recent
                                                                 balance sheet, statement of operations, cash-flow statement, and federal income tax return, or if
                                                                 any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
                                                                A plan is being filed with this petition.
                                                                Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                 accordance with 11 U.S.C. § 1126(b).
                                                                The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                 Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                 Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                 (Official Form 201A) with this form.
                                                                The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                          Chapter 12

9.   Were prior bankruptcy              No.
     cases filed by or against
     the debtor within the last 8       Yes.
     years?
     If more than 2 cases, attach a
     separate list.                              District                                 When                                  Case number
                                                 District                                 When                                  Case number




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Debtor    DCM-P3, LLC                                                                                   Case number (if known)
          Name

10. Are any bankruptcy cases                No
    pending or being filed by a
    business partner or an                  Yes.
    affiliate of the debtor?




     List all cases. If more than 1,
     attach a separate list                         Debtor      See Attachment                                               Relationship
                                                    District                                When                             Case number, if known


11. Why is the case filed in           Check all that apply:
    this district?
                                             Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                              preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                             A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or
    have possession of any
                                        No
                                                  Answer below for each property that needs immediate attention. Attach additional sheets if needed.
    real property or personal           Yes.
    property that needs
    immediate attention?                          Why does the property need immediate attention? (Check all that apply.)
                                                   It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                     What is the hazard?
                                                   It needs to be physically secured or protected from the weather.
                                                   It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                                     livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                                   Other
                                                  Where is the property?
                                                                                   Number, Street, City, State & ZIP Code
                                                  Is the property insured?
                                                   No
                                                   Yes.       Insurance agency
                                                               Contact name
                                                               Phone



          Statistical and administrative information

13. Debtor's estimation of             .       Check one:
    available funds
                                                Funds will be available for distribution to unsecured creditors.
                                                After any administrative expenses are paid, no funds will be available to unsecured creditors.

14. Estimated number of
    creditors
                                        1-49                                           1,000-5,000                                25,001-50,000
                                        50-99                                          5001-10,000                                50,001-100,000
                                        100-199                                        10,001-25,000                              More than100,000
                                        200-999

15. Estimated Assets                    $0 - $50,000                                   $1,000,001 - $10 million                   $500,000,001 - $1 billion
                                        $50,001 - $100,000                             $10,000,001 - $50 million                  $1,000,000,001 - $10 billion
                                        $100,001 - $500,000                            $50,000,001 - $100 million                 $10,000,000,001 - $50 billion
                                        $500,001 - $1 million                          $100,000,001 - $500 million                More than $50 billion

16. Estimated liabilities               $0 - $50,000                                   $1,000,001 - $10 million                   $500,000,001 - $1 billion

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Debtor   DCM-P3, LLC                                                               Case number (if known)
         Name

                           $50,001 - $100,000                       $10,000,001 - $50 million              $1,000,000,001 - $10 billion
                           $100,001 - $500,000                      $50,000,001 - $100 million             $10,000,000,001 - $50 billion
                           $500,001 - $1 million                    $100,000,001 - $500 million            More than $50 billion




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Debtor     DCM-P3, LLC                                                                       Case number (if known)
           Name




Fill in this information to identify your case:

United States Bankruptcy Court for the:

CENTRAL DISTRICT OF CALIFORNIA

Case number (if known)                                                    Chapter     11
                                                                                                                       Check if this an
                                                                                                                           amended filing




                                                       FORM 201. VOLUNTARY PETITION

                                                    Pending Bankruptcy Cases Attachment



Debtor     BP Fisher Law Group, LLP                                                 Relationship to you               Affiliate
           Central District of CA-Santa Ana
District   Division                                   When     2/14/19              Case number, if known             8:19-bk-10158-TA
Debtor     LF Runoff 2, LLC fka Plutos Sama, LLC                                    Relationship to you               Affiliate
           Central District of CA-Santa Ana
District   Division                                   When     1/15/19              Case number, if known             8:19-bk-10526-TA
Debtor     Sarina Browndorf                                                         Relationship to you               Member
           Central District of CA-Santa Ana
District   Division                                   When     10/14/21             Case number, if known




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 Fill in this information to identify the case:
 Debtor name DCM-P3, LLC
 United States Bankruptcy Court for the: CENTRAL DISTRICT OF                                                                                      Check if this is an
                                                CALIFORNIA
 Case number (if known):                                                                                                                              amended filing




Official Form 204
Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and
Are Not Insiders                                                                           12/15

A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the
debtor disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not
include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor
among the holders of the 20 largest unsecured claims.

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 Shady Canyon                                                    HOA Fee &              Contingent                                                                            $685.00
 Community                                                       Assessment             Unliquidated
 Association                     (949) 679-5557                                         Disputed
 c/o First Service
 Residential
 15241 Laguna
 Canyon Road
 Irvine, CA 92618




Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 1

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                       DCM P3, LLC
                       34 Black Hawk #418
                       Irvine, CA 92603-0311


                       Susan K Seflin
                       Brutzkus Gubner
                       21650 Oxnard Street, Suite 500
                       Woodland Hills, CA 91367


                       U S Trustee    Santa Ana Division
                       411 Wet Fourth Street
                       Suite 9041
                       Santa Ana, CA 92701
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                   First American Title Ins Co
                   4380 La Jolla Village Drive
                   Suite 110
                   San Diego, CA 92122


                   Franchise Tax Board
                   Bankruptcy Section, MS: A 340
                   PO Box 2952
                   Sacramento, CA 95812-2952


                   Internal Revenue Service
                   POB 7346
                   Philadelphia, PA 19101-7346


                   Matthew C Browndorf
                   166 Fairview Street
                   Laguna Beach, CA 92651


                   Orange County Tax Collector
                   601 North Ross Street
                   Santa Ana, CA 92701-4091


                   Orange County Tax Collector
                   Treasurer
                   PO BOX 1438
                   Santa Ana, CA 92701-4091


                   Shady Canyon Community Association
                   c/o First Service Residential
                   15241 Laguna Canyon Road
                   Irvine, CA 92618


                   State of CA
                   Franchise Tax Board
                   PO BOX 942857
                   Sacramento, CA 94257
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                   Verde Investments, Inc
                   c/o Snell Wilmer
                   600 Anton Boulevard, Suite 1400
                   Attn: Eric S Pezold
                   Costa Mesa, CA 92626


                   ZBS Law LLP
                   fka Zieve Brodnax Steele LLP
                   as Trustee Michael Busby
                   30 Corporate Park, Suite 450
                   Irvine, CA 92606
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Attorney or Party Name, Address, Telephone & FAX Nos., and State Bar No. &         FOR COURT USE ONLY
Email Address
Susan K. Seflin 213865
21650 Oxnard Street, Suite 500
Woodland Hills, CA 91367
(818) 827-9000 Fax: (818) 827-9099
California State Bar Number: 213865 CA
sseflin@bg.law




 Attorney for:
                                                UNITED STATES BANKRUPTCY COURT
                                                 CENTRAL DISTRICT OF CALIFORNIA

In re:                                                                        CASE NO.:
         DCM-P3, LLC                                                          ADVERSARY NO.:
                                                                   Debtor(s), CHAPTER: 11

                                                                  Plaintiff(s),
                                                                                    CORPORATE OWNERSHIP STATEMENT
                                                                                       PURSUANT TO FRBP 1007(a)(1)
                                                                                         and 7007.1, and LBR 1007-4

                                                                                                                   [No hearing]
                                                              Defendant(s).

Pursuant to FRBP 1007(a)(1) and 7007.1, and LBR 1007-4, any corporation, other than a governmental unit, that is a debtor in
a voluntary case or a party to an adversary proceeding or a contested matter shall file this Statement identifying all its parent
corporations and listing any publicly held company, other than a governmental unit, that directly or indirectly own 10% or more
of any class of the corporation’s equity interest, or state that there are no entities to report. This Corporate Ownership
Statement must be filed with the initial pleading filed by a corporate entity in a case or adversary proceeding. A supplemental
statement must promptly be filed upon any change in circumstances that renders this Corporate Ownership Statement
inaccurate.

I,   Susan K. Seflin 213865                                                   , the undersigned in the above-captioned case, hereby declare
                  (Print Name of Attorney or Declarant)
under penalty of perjury under the laws of the United States of America that the following is true and correct:




___________________________________________________________________________
                This form is optional. It has been approved for use by the United States Bankruptcy Court for the Central District of California.
December 2012                                                                                                F 1007-4.CORP.OWNERSHIP.STMT
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[Check the appropriate boxes and, if applicable, provide the required information.]
1.          I have personal knowledge of the matters set forth in this Statement because:
             I am the president or other officer or an authorized agent of the Debtor corporation
             I am a party to an adversary proceeding
             I am a party to a contested matter
             I am the attorney for the Debtor corporation
2.a.         The following entities, other than the debtor or a governmental unit, directly or indirectly own 10% or more of any
              class of the corporation’s(s’) equity interests:
              [For additional names, attach an addendum to this form.]
     b.      There are no entities that directly or indirectly own 10% or more of any class of the corporation’s equity interest.
October 14, 2021                                                                           By:    /s/ Susan K. Seflin
Date                                                                                              Signature of Debtor, or attorney for Debtor

                                                                                           Name:        Susan K. Seflin 213865
                                                                                                        Printed name of Debtor, or attorney for
                                                                                                        Debtor




___________________________________________________________________________
                  This form is optional. It has been approved for use by the United States Bankruptcy Court for the Central District of California.
December 2012                                                                                                  F 1007-4.CORP.OWNERSHIP.STMT
